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                         IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                  PINE BLUFF DIVISION


SIEMENS INDUSTRY, INC.                                                           PLAINTIFF/
                                                                        COUNTER-DEFENDANT

vs.                            NO. 5:15-cv-00127 DPM/JTK

CITY OF MONTICELLO, ARKANSAS                                                    DEFENDANT/
                                                                          COUNTER-CLAIMANT

vs.

SIEMENS A.G.                                                       THIRD-PARTY DEFENDANT


                             CITY OF MONTICELLO’S
                     MOTION FOR PARTIAL SUMMARY JUDGMENT

       Comes the City of Monticello (herein “City”) and moves for partial summary judgment, and

in support thereof states:

       1.       The contract at issue is void, illegal and unenforceable for failure of the work and

materials covered by the contract to be competitively bid as required by Ark. Code Ann. § 22-9-203

and other applicable law.

       2.       The contract at issue does not constitute a “qualified efficiency contract” as defined

by Ark. Code Ann. § 14-164-402(15), and, consequently, does not qualify for the exemption to

competitive bidding set forth in Ark. Code Ann. § 14-164-419.

       3.       There is no genuine issue of material fact, and the City is entitled to summary

judgment dismissing the Complaint, as amended, R. Doc. 1 and 7, of Siemens Industry, Inc.

       4.       The City submits Exhibits 1 through 18 concurrent with the filing of this Motion in

support thereof.

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       5.       The City further submits a Memorandum Brief in support of this Motion concurrent

with the filing of this Motion, which brief is incorporated herein by reference.

       WHEREFORE, the premises considered, the City of Monticello prays for summary judgment

dismissing the Complaint, as amended, of Siemens Industry, Inc., and that it have and recover its

attorney fees, costs and all other proper relief.

                                                          Respectfully submitted,

                                                          GIBSON & KEITH, PLLC
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                                                          By:   /s/ C. C. Gibson, III
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                                                          By:    /s/ Lee D. Curry
                                                                Lee D. Curry
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 31, 2015, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF System which will send notification of such filing to
all counsel of record in this case.

                                                                /s/ C. C. Gibson, III
                                                                C. C. Gibson, III




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